 

 

Case 3:19-cv-01989-JAG Document 1-1 Filed 10/18/19 Page 1 of 8

NOTE
PAGARE
October 14, 2009 SAN JUAN PUERTO RICO
DATE CILY: STATE/U.S. TERRITORY
Fecha Ciudad Estado/Territorio U.S.

PROPERTY ADDRESS: 14 G JACINTO ST. EL ALAMO DEV., GUAYNABO, PUERTO RICO 00969----------
Direccion de la Propiedad: 14 G JACINTO ST. EL ALAMO DEV., GUAYNABO, PUERTO RICO 00969--------

1. BORROWER’S PROMISE TO PAY
In return for a loan that I have received, ! promise to pay U.S. $21] 500.00 (this amount is called

“Principal”), plus interest, to the order of the Lender. The Lender is FIRST EQUITY MORTGAGE
BANKERS, INC. _ I will make all payments under this Note in the form

 

of cash, check or money order.
I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer

and who is entitled to receive payments under this Note is called the “Note Holder.”

i PROMESA DEL DEUDOR DE PAGAR

A cambio de un préstamo que he recibido, prometo pagar U.S. $211,500.00 (esta cantidad se !lamara
“Principal”), mas intereses a la orden del Prestador. El Prestador es FIRST EQUITY MORTGAGE BANKERS,
INC, _ Haré todos los pagos bajo este Pagaré en efectivo, con cheque o

 

giro.
Entiendo que el Prestador puede traspasar este Pagaré. Se llamard el “Tenedor del Pagaré” al Prestador y a

cualquiera a quien se traspase este Pagaré y tenga derecho a recibir pagos bajo el mismo.

2. INTEREST

Interest will be charged on unpaid principal until the full amount of Principal has been paid. | will pay
interest at a yearly rate of 6.50%.

The interest rate require
described in Section 6(B) of this Note.

d by this Section 2 is the rate I will pay both before and after any default

Z INTERESES
Se cargardn intereses sobre el principal adeudado, hasta que se salde la suma total del

Principal. Pagaré intereses a la tasa anual de_6.50%.
La tasa de interés impuesta en esta Seccion 2 es la tasa que pagaré tanto antes como después de

cualquier incumplimiento descrito en la Seccién 6(B) de este Pagaré.

3. PAYMENTS

(A) Time and Place of Payments

J will pay principal and interest by making a payment every month.

I will make my monthly payments on the Ist day of each month, beginning on_December 1%, 2009 I will
make these payments every month until I have paid all of the principal and interest and any other charges
described below that I may owe under this Note. Each monthly payment will be applied as of its scheduled due

date and will be applied to interest before Principal. Ifon November 1* , 2039 _ I still owe amounts under this
Note, I will pay those amounts in full on that date, which is called the “Maturity Date.”
I will make monthly payments at _322 De Diego Avenue, Suite 201, San Juan, Puerto Rico 00920-

223 , or at a different place if required by the Note Holder.

3. PAGOS

(A) Tiempo y Lugar de los Pagos

Pagaré el principal y los intereses haciendo un pago cada mes.

Haré mis pagos mensuales el dia lero_de cada mes, comenzando el iro. de diciembre----------
Haré estos pagos cada mes hasta que haya pagado todo el
ra otros cargos aqui establecidos que pueda adeudar bajo este Pagaré. Cada
fecha de vencimiento, y sera aplicado a intereses antes que al Principal. Sia
ain adeudo sumas bajo este Pagaré, pagaré dichas sumas en su totalidad

 

de 2009.
principal y los intereses, y cualesquie
pago mensual se aplicard conforme su
lro de noviembre de 2039-----------------""
en esa fecha, la cual se llamara “Fecha de Vencimiento

Haré mis pagos mensuales en 322 De Diego Avenue, Suite 201, San Juan, Puerto Rico 00920-

9223---------- ---, o en un lugar distinto si lo requiere el Tenedor del

(B) Amount of Monthly Payments
My monthly payments will be in the amount of U.S. $1,336.82

 

(B) Cantidad de los Pagos Mensuales
Mis pagos mensuales serdn por la cantidad de U.S. $1,336.82

 

PUERTO RICO FIXED RATE NOTE-Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3253 §/05 (page | uf 5 pages)

 

 

 
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Case 3:19-cv-01989-JAG Document 1-1 Filed 10/18/19 Page 2 of 8

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4, BORROWER’S RIGHT TO PREPAY
I have the right to make payments of Principal at any time before they are due. A payment of Principal

only is known as a “Prepayment.” When I make a Prepayment, I will tell the Note Holder in writing that I am
doing so. I may not designate a payment as a Prepayment if I have not made all the monthly payments due under

the Note.
I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note

Holder will use my Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note
Holder may apply my Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying
my Prepayment to reduce the Principal amount of the Note. If I make a partial Prepayment, there will be no
changes in the due date or in the amount of my monthly payment unless the Note Holder agrees in writing to

those changes.

4. EL DERECHO DEL DEUDOR A PAGAR ANTI CIPADO

Tengo el derecho de hacer pagos al Principal en cualquier momento antes de que venzan. Un
pago al Principal solamente se conoce como un “Pago Anticipado”. Cuando haga un Pago Anticipado,
le diré al Tenedor del Pagaré por escrito que lo estoy haciendo. No puedo identificar un pago como
Pago Anticipado si no estoy al dia en mis pagos mensuales bajo el Pagaré.

Podré hacer un Pago Anticipado completo o Pagos Anticipados parciales sin pagar un cargo
por Pago Anticipado. El Tenedor del Pagaré usard mis Pagos Anticipados para reducir el balance de
Principal que adeude bajo este Pagaré. No obstante, el Tenedor del Pagaré podrd aplicar mi Pago
Anticipado al pago de intereses acumulados vencidos antes de aplicar mi Pago Anticipado para reducir
la suma Principal del Pagaré. Si hago un Pago Anticipado parcial, no habra cambios en la fecha de
vencimiento o en la cuantia de mi pago mensual, a menos que el Tenedor del Pagaré acuerde por

escrito dichos cambios.

5s LOAN CHARGES
If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that

the interest or other loan charges collected or to be collected in connection with this loan exceed the permitted
limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the
permitted limit; and (b) any sums already collected from me which exceeded permitted limits will be refunded to
me. The Note Holder may choose to make this refund by reducing the Principal I owe under this Note or by
making a direct payment to me. If a refund reduces the Principal, the reduction will be treated as a partial

Prepayment.

S CARGOS DEL PRESTAMO
Si una ley que aplique a este préstamo y que fije un maximo a los cargos impuestos es

interpretada en forma final al efecto que los intereses u otros cargos cobrados 9 por ser cobrados a
tenor con este préstamo excediesen los limites permitidos, entonces (a) cualquier tal cargo se ajustara
por la cantidad necesaria para reducir el cargo al limite permitido; y (b) me sera reembolsada
cualquier suma ya pagada por mi que exceda los limites permitidos. El Tenedor del Pagaré podra
escoger entre aplicar este reembolso para reducir el Principal que adeude bajo este Pagaré, o hacerme
un pago directo. Si un reembolso reduce el Principal, el reembolso se tratard como un Pago Anticipado

parcial.

6. BORROWER’S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments
If the Note Holder has not received the full amount of any monthly payment by the end of 15

calendar days after the date it 1s due, I will pay a late charge to the Note Holder. The amount of the charge will be
5 % of my overdue payment of principal and interest. I will pay this late charge promptly but only once on each

late payment.

6. INCUMPLIMIENTO DEL DEUDOR DE PA GAR SEGUN REQUERIDO

(A) Cargos por Demora por Pagos Vencidos
Si el Tenedor del Pagaré no ha recibido la cantidad total de cualquier pago mensual pasados

15 dias calendario de su fecha de vencimiento, le pagaré un cargo por demora. El cargo sera
5% del pago vencido de principal e intereses. Pagaré este cargo por demora prontamente, pero

solamente una vez por cada pago tardio.

(B) Default

If I do not pay the full amount of each monthly payment on the date it is due, I will be in default.

(B) Incumplimiento
Incurriré en incumplimiento si no pago

vencimiento.

la cantidad total de cada pago mensual a la fecha de su

(C) Notice of Default
If | am in default, the Note Holder may send me a written notice telling me that if I do not pay the

overdue amount by a certain date, the Note Holder may require me to pay immediately the full amount of

PUERTO RICO FIXED RATE NOTE--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3283 5/05 {page 2 of 5 pages)

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Case 3:19-cv-01989-JAG Document1-1 Filed 10/18/19 Page 3 of 8

_-Principal which has not been paid and all the interest that I owe on that amount. That date must be at least thirty
(30) days after the date on which the notice is mailed to me or delivered by other means.

(C) Aviso de Incumplimiento
Si incurro en incumplimiento, el Tenedor del Pagaré podrad enviarme aviso escrito diciéndome

que si no pago la cantidad vencida para cierta fecha, podrd requerirme saldo inmediato de la suma
total del Principal que no ha sido pagado, mds todos los intereses que adeude sobre esta suma. Esa
fecha tiene que ser por lo menos treinta (30) dias después de la fecha en que me sea enviado el aviso

por correo, o entregado por cualquier otro medio.

(D) No Waiver by Note Holder
Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as

described above, the Note Holder will still have the right to do so if 1 am in default at a later time.

(D) No Renuncia por el Tenedor del Pagaré
Aun cuando a la fecha en que incurro en incumplimiento el Tenedor del Pagaré no me requiera

que pague la totalidad inmediatamente, segun expresado anteriormente, el T enedor del Pagaré tendra
derecho a hacerlo si vuelvo a incurrir en incumplimiento en un fecha posterior.

(E) Payment of Note Holder’s Costs and Expenses
If the Note Holder has notified me that I am required to pay immediately in full as described above, or the

Note Holder seeks judicial collection or collection in a bankruptcy proceeding, the Note Holder shall be entitled to
collect its costs and expenses to enforce this Note (including, but not limited to, attorneys’ fees), which are fixed
at the agreed and liquidated amount of ten percent (10%) of the original Principal amount.

(E) Pago de Costas y Gastos del Tenedor del Pagaré

Si el Tenedor del Pagaré me ha notificado que tengo la obligacién de pagar la totalidad inmediatamente,
segiin se establece anteriormente, 0 el Tenedor del Pagaré radica cobro judicial o cobro en un procedimiento de
gquiebra, el Tenedor del Pagaré tendrd derecho a cobrar sus costas y gastos para hacer valer este Pagaré
(incluyendo, pero sin limitarse a, honorarios de abogado), los cuales se fijan en la suma pactada y liquida de diez

por ciento (10%) de la suma Principal original.

7 GIVING OF NOTICES
Unless applicable law requires a different method, any notice that must be given to me under this Note

will be given by delivering it or by mailing it by first class mail to me at the Property Address above or at a

different address if I give the Note Holder a notice of my different address.
Any notice that must be given to the Note Holder under this Note will be given by delivering it or by

mailing it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a different
address if I am given a notice of that different address.

7 NOTIFICACION
A menos que la ley aplicable requiera otro método, cualquier aviso que se me deba dar bajo este

Pagaré se hard entregdndome o envidndome por correo de primera clase, a la direccién de la
Propiedad arriba indicada o a una direccion diferente, si le notifico por escrito una direccion diferente

al Tenedor del Pagaré.

Cualquier notificacién que deba
correo de primera clase a la direccion indica
haya notificado el Tenedor del Pagaré.

dar al Tenedor del Pagaré, lo haré entregdndola o envidndola por
da en la Seccion Tres (a) [3(a)], 0 a una direccion distinta que me

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the
promises made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor,
surety, or endorser of this Note is also obligated to do these things. Any person who takes over these obligations,
including the obligations of a guarantor, surety, or endorser of this Note, is also obligated to keep all of the
promises made in this Note. The Note Holder may enforce its rights under this Note against each person

individually or against all of us together. This means that any one of us may be required to pay all of the amounts

owed under this Note.

8. OBLIGACIONES DE LAS PERSONAS BAJO ESTE PAGARE

Si mds de una persona firma este Pagaré, cada persona queda plenamente y personalmente obligada a
cumplir todas las obligaciones contenidas en este Pagaré, incluyendo la promesa de pagar la suma total
adeudada. Cualquier persona que sea garantizadora, fiadora, 0 endosante de este Pagaré también queda
obligada de esa manera. Cualquier persona que asuma estas obligaciones, incluyendo las obligaciones de un
garantizador, fiador, o endosante de este Pagaré, quedard también obligada a cumplir todas las obligaciones
contenidas en este Pagaré. El Tenedor del Pagaré podra hacer valer sus derechos bajo este Pagaré contra cada
persona individualmente, 0 contra todos nosotros conjuntamente. Esto significa que cualquiera de nosotros podra

ser requerido a pagar todas las sumas adeudadas bajo este Pagaré.

9. WAIVERS
I and any other person who has obligations un

PUERTO RICO FIXED RATE NOTE--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3253 5/05 (page 3 of 5 pages)

der this Note waive the rights of Presentment and Notice of

 

 
Case 3:19-cv-01989-JAG Document 1-1 Filed 10/18/19 Page 4 of 8

 

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Dishonor, “Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice
of Dishonor” means the right to require the Note Holder to give notice to other persons obligated to pay the Note -.

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that amounts due have not been paid.
|

9. RENUNCIAS
Yo y toda otra persona obligada bajo este Pagaré renunciamos a la Presentacion y al Aviso de |
|

Incumplimiento. “Presentacion” significa el derecho a requerir que el Tenedor del Pagaré reclame
pago de sumas vencidas. “Aviso de Incumplimiento” significa el derecho a requerir que el Tenedor del
Pagaré notifique a otras personas obligadas a pagar el Pagaré, que no se han pagado las sumas

adeudadas.

 

10. UNIFORM SECURED NOTE
This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the

protections given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the “Security
Instrument”), dated the same date as this Note, protects the Note Holder from possible losses which might result if
I do not keep the promises which 1 make in this Note. That Security Instrument describes how and under what
conditions I may be required to make immediate payment in full of all amounts I owe under this Note. Some of |

those conditions are described as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this |
Section 18, “Interest in the Property” means any legal or beneficial interest in the
Property, including, but not limited to, those beneficial interests transferred in a bond for
deed, contract for deed, installment sales contract or escrow agreement, the intent of
which is the transfer of title by Borrower at a future date to a purchaser.

 

If all or any part of the Property or any Interest in the Property is sold or

| transferred (or if Borrower is not a natural person and a beneficial interest in Borrower is

sold or transferred) without Lender’s prior written consent, Lender may require

immediate payment in full of all sums secured by this Security Instrument. However, this
option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

 

| If Lender exercises this option, Lender shall give Borrower notice of acceleration.
The notice shall provide a period of not less than thirty (30) days from the date the notice
is given in accordance with Section 15 within which Borrower must pay all sums secured
by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of |
this period, Lender may invoke any remedies permitted by this Security Instrument

without further notice or demand on Borrower.

 

10. | PAGARE GARANTIZADO UNIFORME
Este Pagaré es un instrumento uniforme con algunas alteraciones en algunas jurisdicciones. Ademds de
las protecciones dadas al Tenedor del Pagaré bajo este Pagaré, una Hipoteca, Escritura de Fideicomiso, 0 |
Escritura de Garantia Colateral (la “Hipoteca ”), de esta misma fecha, protege al Tenedor del Pagaré de posibles |
pérdidas que puedan resultar si no cumplo con las promesas que hago en este Pagaré. Esa Hipoteca describe
como y bajo qué condiciones puedo ser requerido a pagar inmediatamente el total de todas las sumas que adeude

bajo este Pagaré. Algunas de esas condiciones se describen a continuacion.

Traspaso de la Propiedad o de un Interés Beneficiario del Deudor. Segun se utiliza
en esta Seccién 18, “Interés en la Propiedad” significa todo interés penta 0

beneficiario en la pa incluyendo, pero sin limitarse a, aquellos intereses
beneficiarios transferidos como pacto condicional de iraspaso, contrato para venta,
contrato de venta a plazos o acuerdo de plica, cuya intencion sea el traspaso de titulo

por el Deudor aun comprador en fecha futura.

Si sin el previo consentimiento del Prestador se vende o traspasa toda o cualquier
| parte de la Propiedad, o cualquier Interés en la Propiedad (0 en caso que el Deudor no
sea una persona natural se vende o traspasa un interés propietario en el Deudor),
entonces el Prestador podra requerir el pago completo e inmediato de todas las
| cantidades aseguradas por esta Hipoteca. in embargo, el Prestador no ejercerd esta

opcion en caso que la Ley Aplicable la prohiba.

 

| Si el Prestador ejerce esta opcion, le daré aviso al Deudor de la aceleracién del
vencimiento. Conforme a la Seccion 15, el aviso oe un periodo no menor de treinta
ee dias a partir de su fecha, dentro del cual el Deudor vendrd obligado a pagar todas

as cantidades aseguradas por esta fipoteca. Si el Deudor ae de pea ee
rd invocar cualquier

cantidades antes del vencimiento de este periodo, el Prestador po
remedio permitido por esta Hipoteca, sin mas aviso 0 requerimiento al Deudor.

 

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-Fannie Mae/Freddie Mac UNIFORM INSTRUM ENT Form 3253 5/05 (page 4 of 5 pages) |

PUERTO RICO FIXED RATE NOTE-Single Family-

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Case 3:19-cv-01989-JAG Document1-1 Filed 10/18/19 Page 5 of 8

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t1. SECURITY INSTRUMENT .
Payment of the indebtedness evidenced by this Note is secured [by a Security Instrument dated on even

date herewith, constituted by deed number_----~-410—---—----_ of the undersigned Notary Public.

11. HIPOTECA |
El pago de la deuda evidenciada por este Pagaré esta garantizado por una Hipoteca de esta misma

fecha, constituida mediante la escritura numero -------- 4 ] (i-------—-- del Notario Publice infrascrito.

|
IN WITNESS THEREOF, WE HEREBY ACKNOWLEDGE AND SIGN THIS PROMISSORY NOTE.
EN TESTIMONIO DE LO CUAL RECONOCEMOS f SUS ne ESTE PAGARE.

|
(Signature)

: |
EN, E MANUEL ESPINOSA NUNEZ (Firma)
| Borrower
Deudor
(Signature)
Firma)

/ Borrower

 

 

 

|

|

| Deudor
| (Signature)
| (Firma)
Borrower
| Deudor
|

|

(Sign Original Only)

Affidavit No.:_1463-—-—
(Firmese Original Solamente)

Testimonio Nim. :_1463------

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---Acknowledge and subscribed before me by the above signatories, of the personal circumstances
ih the Mortgage deed hereinbefore described, whom I have identified as expressed also in said
iéned ip(the plate and date ¢bove stated. - ! wana nnnnnnnnnnnnennannnnennnnnnnanena nnn
/ por los arriba firmantes, de, las circunstancias personales que se
(hipoteca y a quienes he identificado seguin se expresa en la

een glee ean me sees ERAS SEE Ee N SNARE SEES SHS HORSE TRESS RATE ESTER ARES ES

 

  
  

 

 

PAY TO THE ORDER OF
DORAL BANK
WITHOUT RECOURSE

FIRST EQUITY
MORTGAGE BANKERS INC

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Case 3:19-cv-01989-JAG Document 1-1 Filed 10/18/19 Page 6 of 8

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NOTE ADDENDUM |

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“ }
This NOTE RIDER is made this 14". ---- _ day of October, 2009, and is incorporated into and
shall be deemed to amend and supplement the Note made by the undersigned Borrower in favor of
FIRST EQUITY MORTGAGE BANKERS, INC. (Lender) and r as of even date herewith (the

Note). |

|
PREPAYMENT PENALTIES

 

If, within five (5) years from the date of this Note, the undersigned makes any prepayments in any
twelve (12) month period beginning with the date of this Note or anniversary dates thereof (loan
year) with money lent to the undersigned by a lender other than the holder hereof, the undersigned
shall pay the holder hereof (a) during the first (1*) loan year three (3) percent of the prepaid amount;
(b) during the second (2™) and third (3") loan years, two (2) percent of the prepaid amount and; (c)
during the fourth (4) and fifth (5") loan years, one (1) percent of the amount by which the sum of
prepayments made in any such loan exceeds twenty (20) percent of the original principal amount of

this Note. |

|

The above prepayment penalty will not be enforced if this Note is sold by the holder hereof to the
Federal Home Loan Mortgage Corporation (Freddie-mac) or the Federal National Mortgage Loan

Association (FANNIE-MAC). |

 

By signing below, Borrower accepts and agrees to te terms and covenants contained in this Note
Addendum.

 

 
Case 3:19-cv-01989-JAG Document 1-1 Filed 10/18/19 Page 7 of 8

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ALLONGE
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Pay to the order of Federal Deposit Insurance Corporation, without recourse and without representation
or warranty, express, implied or by operation of law, of any kind and nature whatsoever.

CITIBANK, NA.

Attorney-in-Fact for

Federal Home Loan Bank New York,
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By: —_—_ 41
Name: Fernando Guzman
Title: Vice President

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Dated: As of March 6, 2015

 
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ALLONGE TO THE NOTE
WR EO
Document Reference #: 0004190000047532
Borrower: ENRIQUE MANUEL ESPINOSA NUNEZ
Date of Note: 40/14/2009
Loan Amount. $241,500.00
Property Address: 44 G JACINTO ST, EL ALAMO DEV, GUAYNABO, PR, 00969

For Value received, | hereby transfer, endorse and assign the within Note.
Pay to the order of:

_ Without recourse

 

 

DLJ MORTGAGE CAPITAL, INC. BY SELECT PORTFOLIO SERVICING, INC. ITS ATTORNEY IN FACT

By: faa
Name: BILL KOCH
Title: DOCUMENT CONTROL OFFICER

 
